Case 1:21-cv-04942-ARR-RLM Document 29 Filed 05/06/22 Page 1 of 1 PageID #: 160




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                                                                May 6, 2022

 Via ECF
 Hon. Judge Roanne L. Mann
 U.S. Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

        Re:     Sanchez v. Valentine2400 LLC, et al
                Index No.: 21-CV-4942 (ARR) (RLM)

 Dear Hon. Judge Mann:

         This office was represents the Defendants Valentine2400LLC and Yechiel Wienberger in
 the above entitled action. I write on behalf of both parties, in accordance with Your Honor’s
 Individual Rules, and in accordance with the Order issued by the court on April 19, 2022. The
 parties respectfully request that the court schedule an initial pre-trial conference for this case, at a
 date and time that is convenient for the court.

        Thank you for your time and consideration regarding this matter.


                                                        Very truly yours,

                                                        _______/S/_____________
                                                        Stuart Weinberger

 CC:    VIA ECF
        Counsel for all parties




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